Case 2:05-CV-02221-SHI\/|-STA Document 30 Filed 07/14/05 Page 1 of 3 Page|D 35

 

IN THE UNITED sTATEs DISTRICT coURT m BY`E%Q‘°'
FOR THE weeNTEESRTl:TERJ:IISDTII;IICSTIOCI>\TF TENNESSEE 05JUL H¢ PH l,= 5a
LoUIs MITCHELL, ET AL., QT(;U{C§§D;N§C¢;HSURT
Plaintiffs,
v_ _ No. 05-2221-Mav

MARCUS MCNEIL, ET AL. ,

Defendants.

 

ORDER GRANTING PERMISSION TO FILE REPLY

 

Before the court is defendant Bobby Todd's June 28, 2005,
unopposed motion to file a reply in further support of his motion
to dismiss. For good cause shown, the motion is granted and the
reply attached to the motion is deemed filed as of the date of
entry of this order.

It is So ORDERED this {qJAday of July, 2005.

QMM/L__

SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

 

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UNTED TATES DISTRICT COURT - WESTNER DTISICT oF TENNESSEE

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This notice confirms a copy of the document docketed as number 30 in
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Honorable Samuel Mays
US DISTRICT COURT

